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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JOHNATHAN RODRIGUEZ                             :       CIVIL ACTION
                                                :
                     v.                         :
                                                :
TRANS UNION, LLC, et al.                        :      NO. 16-1891




                                       ORDER


        AND NOW, TO WIT: This 6th day of February, 2018, it having been reported
that the issues between all parties in the above action have been settled and upon Order of
the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure
of this Court, it is

      ORDERED that the above action is DISMISSED with prejudice pursuant to
agreement of counsel, and without costs.



                                          KATE BARKMAN, Clerk of Court


                                          BY:
                                                 Jean M. Pennie
                                                 Deputy Clerk




Civ 2 (8/2000)
41(b).frm
